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                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
TBM/MS                                               271 Cadman Plaza East
F. #2022R00359                                       Brooklyn, New York 11201



                                                     September 26, 2023

By E-mail and ECF

The Honorable Nina R. Morrison
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Tyler Scott Johnston
                       Criminal Docket No. 23-13

Dear Judge Morrison:

               The government respectfully submits this letter in response to the Court’s written
request, communicated via E-Mail on September 26, 2023, setting forth the government’s,
defendant’s and Pretrial Services’ positions regarding modification of the pretrial release
conditions of defendant Tyler Scott Johnston.

I.      Modifications to Pretrial Release

                The parties jointly request that the conditions of defendant Tyler Scott Johnston’s
pretrial release be modified to include the following and a proposed order is attached hereto:

             (1) permit Johnston to relocate to a residence pre-approved by Pretrial Services in
Sunnyvale, Texas, Oklahoma or Arkansas; and

            (2) preclude Johnston from visiting or residing on his family’s farm located in
Muldrow, OK (the “Farm”).

               Defense counsel requests leave to move to further modify condition (2) at a future
date.

II.     Adjournment of Oral Argument

              Because there is no issue ripe for argument at this time, the parties request that the
oral argument scheduled for September 27, 2023 be adjourned sine die.
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III.   Supplemental Letters

               The government hereby submits a letter setting forth Oklahoma Pretrial Services’
assessment of the Farm as Exhibit A and a letter setting forth the Guardian Ad Litem’s concerns
with the defendant living at the Farm as Exhibit B. 1

                                                    Respectfully submitted,

                                                    BREON PEACE
                                                    United States Attorney

                                            By:         /s/
                                                    Tara B. McGrath
                                                    Margaret Schierberl
                                                    Assistant U.S. Attorneys
                                                    (718) 254-7000


cc:    Clerk of Court (NRM) (via ECF)
       Counsel of Record (via ECF and E-Mail)
       United States Pretrial Services Supervisory Officer Amanda Carlson (via E-Mail)
       United States Pretrial Services Officer Valeria Lopez (via E-Mail)




       1
               Redacted versions of the attached proposed order and Exhibit B are filed on the
public docket to protect the personal identifying information of the victim.


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